                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

      UNITED STATES OF AMERICA,                   )
      Plaintiff,                                  )
                                                  )
      vs.                                         ) No. 1:21-cr-00058-CEA-SKL
                                                  )
      MARK DEAKINS,                               )
      Defendant.                                  )


                              MOTION TO SEVER COUNT ONE

        COMES NOW Defendant Mark Deakins and respectfully shows the Court as fol-

  lows:

        1. Prior trial counsel filed a motion to sever Counts One and Two of the Second

  Superseding Indictment, to try them separately from the remaining Counts. [RE 56

  (10/19/22 Motion to Sever), PageID# 159]. 1

        2. Since the filing of that motion to sever, the Government obtained a Third Su-

  perseding Indictment. [RE 75 (11/22/22 3rd Superseding Indictment), PageID#

  353].

        3. Given the change of the operative charging instrument, Mr. Deaking respect-

  fully moves again for severance, as follows:



  1
    Undersigned counsel will not repeat the legal standards, which were previously set forth. But
  undersigned counsel concedes that Counts Two-Five are properly tried together. Only Count One
  is properly subject to severance and is discussed here.
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           a. Count One is mis-joined to all the other Counts under Fed. R. Crim.

  Pro. 8(a) and is subject to mandatory severance. Cf. United States v. Hatcher, 680

  F.2d 438, 441 (6th Cir. 1982) (“If multiple defendants are improperly joined under

  Rule 8(b) because they are charged with offenses that are unrelated, then they are to

  be considered as prejudiced by that fact and the trial judge has no discretion on the

  question of severance. Severance in such a case is mandatory.” (citations omitted)).

  Count One is not legally similar to any other Count. The gravamen of the charge (18

  U.S.C. § 2241) is interstate travel; actual sexual activity is not a required element,

  much less sexual activity with a child. See Wilson v. United States, 232 U.S. 563,

  571 (1914) (interpreting previous version of statute) (holding that because “the mere

  act of transportation” was criminalized, it was no defense that the illegal purpose

  may not have ever been accomplished). Further, it is not part of a common plan, as

  the remaining Counts involve alleged pornography, whether making or possessing.

           b. Even if properly joined, Count One is appropriate for discretionary sev-

  erance. Fed. R. Crim. Pro. 14(a). Count One, a travel charge, is not a charge to which

  Fed. R. Evid. 414 applies at all because it is not alleged “child molestation” within

  the meaning of the Rule. “Child molestation” requires a “child,” which is defined as

  “a person below the age of 14.” Fed. R. Evid. 414(d)(1). As the Government itself

  contends, the alleged event alleged in Count One occurred “[w]hen C.C. was 16-

  17.” [RE 92 (12/27/22 Opp. to Motion to Dismiss), PageID# 550]. Thus, Rule 414

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  does not allow the admission of evidence of other alleged acts to be introduced with

  respect to Count One. Nor does it allow evidence of alleged acts concerning Count

  One to be introduced at a trial on any of the remaining Counts. Given how inflam-

  matory any alleged child abuse is—or, to quote the Government, “inherently preju-

  dicial,” [RE 63 (11/2/22 Opp. to Motion to Sever), PageID# 174]—the admission of

  the evidence concerning the remaining Counts would prejudice Mr. Deakins’ ability

  to defend on Count One, and allow the Government to unfairly bootstrap evidence

  for it on the trial of the other Counts.

     Accordingly, Mr. Deakins prays that this Court will sever Count One, and try it

  separately from all other Counts.

       Dated: January 28, 2023

                                                              Respectfully submitted,

                                                                      MARK DEAKINS

                                                           s/Howard W. Anderson III
                                                             Howard W. Anderson III
                                                                  B.P.R. No. 34693




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  or

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  Cleveland, TN 37320-2242



                           CERTIFICATE OF SERVICE

     I, Howard W. Anderson III, certify that I filed a copy of the foregoing paper using
  the Court’s CM/ECF system, which will deliver a copy to all counsel of record ex-
  cept for the following, whom I have this day served by U.S. Mail:

       n/a

                                                            s/Howard W. Anderson III
                                                              Howard W. Anderson III




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